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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 JOE ANDREW SALAZAR,

     Plaintiff,

     v.                                                 Civil Action No. 2:20-cv-00004-JRG

 AT&T MOBILITY LLC,                                     JURY TRIAL DEMANDED
 SPRINT/UNITED MANAGEMENT
 COMPANY, T-MOBILE USA, INC.,
 AND CELLCO PARTNERSHIP D/B/A
 VERIZON WIRELESS,

     Defendants

     and

 HTC CORP., and HTC AMERICA, INC.,

     Intervenors.


           JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT

       Pursuant to Eastern District of Texas Local Patent Rule 4-3 and the Court’s First Amended

Docket Control Order (Dkt. No. 83), Plaintiff Joe Andrew Salazar (“Plaintiff” or “Salazar”) and

Defendants AT&T Mobility LLC (“AT&T Mobility”), Sprint United Management

Company(“Sprint”), T-Mobile USA Inc. (“T-Mobile”), and Cellco Partnership, Inc. d/b/a Verizon

Wireless, Inc. (“Verizon”) (collectively, “Defendants”) and Intervenors HTC Corporation and

HTC America, Inc. (, “Intervenors”) hereby submit this Joint Claim Construction and Prehearing

Statement pursuant to P.R. 4-3. The patent asserted in this case is U.S. Patent No. 5,802,467 (“the

’467 Patent”), attached hereto as Exhibit A. The patent claims that are asserted in this case are

claims 1-7, 27-30 and 34.
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      A.     P.R. 4-3(a)(1): Agreed Constructions, Points of Agreement and Request For
             Determination as Part of Markman Process


                    Term                                         Agreed Construction

“a communications, command, control and              Preambles of independent claims 1 and 34 are
sensing system for communicating with a              substantive limitations and the clause
plurality of external devices comprising.”           “communications, command, control and
                                                     sensing system” in each such preamble does
                                                     not need to be further construed.

“external device”                                    A device separate from the handset and the

                                                     base station.

“a memory device coupled to said                     “a memory device coupled to said
microprocessor configured to store a plurality       microprocessor configured to store a plurality
of parameter sets retrieved by said                  of parameter sets retrieved by said
microprocessor so as to recreate a desired           microprocessor so as to recreate, by the
command code set, such that the memory               microprocessor, a desired command code set,
space required to store said parameters is           such that the memory space required to store
smaller than the memory space required to            said parameters is smaller than the memory
store said command code sets”                        space required to store said command code
                                                     sets”
“a memory device coupled to said                     “a memory device coupled to said
microprocessor configured to store a plurality       microprocessor configured to store a plurality
of parameter sets retrieved by said                  of parameter sets retrieved by said
microprocessor so as to recreate based on said       microprocessor so as to recreate, by the
parameter sets a desired set of pulse signals        microprocessor, based on said parameter sets
corresponding to logical “1’s” and “0’s” as          a desired set of pulse signals corresponding to
specified by a command code set”                     logical ‘1’s’ and ‘0’s’ as specified by a
                                                     command code set”
“a command code set that defines the signals         “plain and ordinary meaning”
that are employed to communicate with each
one of said external devices”




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       B.      P.R. 4-3(a)(2): Proposed Constructions of Disputed Terms; Intrinsic and
               Extrinsic Evidence

       Plaintiff’s Proposed Constructions of Disputed Terms:

       Consistent with the principles of issue preclusion and the precedent of this Court, Plaintiff

proposes that the Court should adopt its claim construction decisions as set out in Salazar v. HTC

Corp., 2:16-cv-01096-JRG with respect to all asserted claims in this case.

       In response to Defendants’ arguments regarding Plaintiff’s assertion of issue preclusion,

the Court can find that there is issue preclusion even if it finds that there is no claim preclusion

because the principles (and requirements) underlying the two doctrines are different. As set out in

Plaintiff’s Opposition to Defendants’ Motion to dismiss under Rule 12(b)(6) (Dkt. #40),

Defendants failed to establish that the four claim preclusion elements are met because (1) this case

does not involve the same claim or cause of action as the HTC Corp. litigation and (2) HTC Corp.

and the U.S. carriers are not in privity. See Opposition at 2-17; see also Hous. Prof’l Towing Ass’n

v. City of Hous., 812 F.3d 443, 447 (5th Cir. 2016). With respect to the “same claim” element,

Plaintiff argued that the two cases do not share the same nucleus of operative facts or arise from

the same transactional facts, see Opposition at 3-9, and for this reason alone, the claim preclusion

requirements are not satisfied and claim preclusion does not apply. Indeed, as Plaintiff stated in

its brief, “Because the two cases do not share the same claim or cause of action, the Court need

not reach [the privity] factor.” See Opposition at 10 (emphasis added). Thus, the Court could

certainly find that claim preclusion does not apply because the two cases do not involve the same

claim or cause of action while also finding that the parties are in privity.

       Moreover, Defendants should be bound by their admission in their motion to dismiss (see

Dkt. #27) that they are in privity with HTC Corp. Defendants should not be permitted to assert




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that the parties are in privity when it benefits their position but take the contrary position that they

are not in privity when it is detrimental to their position, as they are doing here. 1

         Plaintiff’s proposed constructions of each disputed claim term, phrase, or clause, together

with an identification of all references from the specification or prosecution history that support

that construction, and an identification of any extrinsic evidence known to Plaintiff on which it

intends to rely either to support Plaintiff’s proposed constructions or to oppose Defendants’

proposed constructions, including dictionary definitions and citations to learned treatises are

attached as Exhibit B.

         Defendant’s Proposed Constructions of Disputed Terms:

         Plaintiff requests that the Court preclude Defendants and Intervenors from proposing

constructions or relying on expert testimony to support their proposed constructions based on the

doctrine of issue preclusion. “Issue preclusion, ‘has the dual purpose of protecting litigants from

the burden of relitigating an identical issue with the same party or his privy and of promoting

judicial economy by preventing needless litigation.’” JumpSport, Inc. v. Acad., Ltd., No. 6:17-cv-

414-RWS-JDL, 2018 U.S. Dist. LEXIS 146019, at *22 (E.D. Tex. Aug. 28, 2018) (quoting

Parklane Hosiery Co. v. Shore, 439 U.S. 322, 326 (1979) (emphasis added).                    On claim

construction, Salazar argues that issue preclusion applies because Defendants are in privity with

HTC Corp. In Section B of Salazar’s initial draft of this Joint Claim Construction and Prehearing

Statement, Salazar stated that Defendants are in privity with HTC Corp. to support his argument




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  As Defendants and Intervenors reference below, in a previous draft, Plaintiff assumed that
Defendants and Intervenors were to be treated in privity. This assumption was based on the
position that Defendants and Intervenors have taken in this case. Dkt. #27. This statement was
removed by Plaintiff in the final draft of this document after Defendants and Intervenors
withdrew their reliance on proposed extrinsic evidence in the form of expert testimony of Dr.
Wolfe, identified in their P.R. 4-2 disclosure.


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that Defendants and Intervenors should be precluded from proposing constructions or relying on

expert testimony to support their proposed constructions:

       In Salazar v. HTC, Corp., (2:16-cv-01096-JRG), Defendants’ privy and

       Intervenor in this case, HTC Corp., previously asserted (in the parties’ P.R. 4-3

       disclosure) that it “objects to expert testimony because only intrinsic evidence is

       relevant to claim construction in this case.”

(emphasis added).

       Salazar removed that statement from subsequent versions of the Joint Claim Construction

and Prehearing Statement after Defendants and Intervenors highlighted the inconsistencies in

Salazar’s position as discussed below.

       In the prior lawsuit, Salazar v. HTC Corp., No. 2:16-cv-1096 (E.D. Tex.) (“Salazar I”),

Salazar accused three HTC smartphone models of infringing the ’467 Patent. That case was tried

to the jury, which found that the ’467 Patent was not infringed. As a result, the Court entered final

judgment on Salazar’s infringement claim on May 18, 2018. Salazar I, Dkt. 284. In the current

lawsuit, Salazar accuses the same three smartphone models of infringing the same ’467 Patent,

with downstream customers of HTC as named defendants.

       On October 1, 2019, Defendants filed their motion to dismiss under Rule 12(b)(6), arguing

that (1) Salazar’s claims are precluded under the doctrine of claim preclusion and (2) the final

judgment in Salazar I immunizes the accused products under the Kessler doctrine. Dkt. 27 at 5.

As shown in the motion, the preclusive effect of Salazar I applies to Defendants in this case

because they are in privity with HTC Corp. See id. at 8-11; see also Dkt. 57, Defendants’ Reply

in Support of Their Motion to Dismiss Under Rule 12(b)(6) 6 (E.D. Tex. Nov. 20, 2019)

(“Defendants and HTC Corp. are in privity for claim preclusion purposes, as shown by the




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agreements between Defendants, HTC Corp., and HTC America, Inc.—and the uncontradicted

trial testimony about their relationships and the HTC Smartphones. Dkt. 27, at 10-12. Salazar has

not disputed the relevance, accuracy, or reliability of any of this evidence.”).

       Salazar’s opposition argued that “Defendants’ Motion should be denied because

Defendants have failed to establish the requirements for claim preclusion are met—specifically,

that this case (1) involves the same claim or cause of action or that (2) the parties are in privity.”

Dkt. 40 at 1. Salazar repeatedly argued that HTC Corp. and Defendants are not in privity, in an

attempt to avoid dismissal. See, e.g., id. at 2 (“HTC Corp.’s self-serving strategies adopted at the

expense of Defendants make clear that the Defendants are not in privity with HTC Corp.”), 10

(“Defendants’ contention that they and HTC Corp. are in privity is not only inconsistent with the

governing law, it misrepresents the relationship between the parties and contradicts HTC Corp.’s

own admissions and arguments made in the first case.”). Salazar made similar arguments in his

sur-reply. See Dkt. 63.

       Defendants and Intervenors maintain that this case should be dismissed because Salazar’s

claims are precluded under the doctrine of claim preclusion, which requires a showing of privity

with HTC Corp. To the extent the Court nonetheless finds that Defendants are not in privity with

HTC Corp., then Defendants and Intervenors should not be precluded from presenting proposed

constructions to the Court or relying on expert testimony to support their proposed constructions.

       Plaintiff’s request that the Court adopt its claim constructions from Salazar v. HTC Corp.,

2:16-cv-01096-JRG under the doctrine of issue preclusion should be denied for at least the reason

that the named Defendants were not parties to Salazar I or subject to offensive issue preclusion as

Plaintiff argues. Plaintiff’s request that Defendants and Intervenors should be precluded from




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relying on expert testimony to support their proposed constructions should be denied for the same

reasons.

       Defendants’ and Intervenors’ proposed constructions of each disputed claim term, phrase,

or clause (together with an identification of all references from the specification or prosecution

history and an identification of any extrinsic evidence that supports those constructions) are

attached as Exhibit C.

       All parties reserve the right to rely on any evidence identified by any other party, including

any asserted claims and related prosecution history. All parties further reserve the right to rely on

evidence not yet available, including documents not yet produced and testimony not yet taken.

       C.      P.R. 4-3(a)(3): Anticipated Length of Hearing.

       The claim construction hearing in this action is scheduled to occur on July 22, 2020 at 1:30

p.m. in Marshall, Texas before Chief Judge Rodney Gilstrap. The parties anticipate that 3 hours

will be required, with each side being allotted 1.5 hours.

       D.      P.R. 4-3(a)(4): Witnesses.

       The parties do not expect to call any witnesses at the claim construction hearing.

       E.      P.R. 4-3(a)(5): Other Issues for a Prehearing Conference

       None.


       Date: May 1, 2020                              Respectfully submitted,

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                              CERTIFICATE OF SERVICE


       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court's

CM/ECF system per Local Rule CV-5(a)(3) on May 1, 2020.

                                                  /s/ Geoffrey Culbertson
                                                  Geoffrey Culbertson




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